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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 18-62942-CIV-DIMITROULEAS/SNOW

       ABS-CBN CORPORATION, et al.,
                     Plaintiffs,
       vs.

       CINESILIP.SU, et al.,
                     Defendants.
                                                     /

           PLAINTIFFS’ MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT
       AGAINST DEFENDANTS AND MEMORANDUM OF LAW IN SUPPORT THEREOF
             Plaintiffs, ABS-CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a Star Cinema,
   and ABS-CBN International Corporation (hereinafter collectively, “Plaintiffs” or “ABS-CBN”),
   hereby move this Honorable Court for an entry of final default judgment against Defendants, the
   Individuals, Partnerships and Unincorporated Associations Identified on Schedule “A” hereto,
   (collectively “Defendants”) and in support thereof, submit the following Memorandum of Law.
   I.        INTRODUCTION
             ABS-CBN filed a Complaint against Defendants for federal trademark counterfeiting and
   infringement (Count I), false designation of origin (Count II), common law unfair competition
   (Count III), common law trademark infringement (Count IV), and direct and secondary copyright
   infringement (Count V and VI). Defendants are in default, and the prerequisites for a default
   judgment have been met. ABS-CBN seeks default judgment finding Defendants liable on all
   counts of its Complaint. ABS-CBN prays such judgment includes the entry of a permanent
   injunction and an award of statutory damages to Plaintiffs for Defendants’ willful counterfeiting and
   copyright infringement pursuant to 15 U.S.C. § 1117(c) and 15 U.S.C. § 504(c).1 ABS-CBN also

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     ABS-CBN is not requesting the Court award damages against all Defendants pursuant to 15
   U.S.C. § 504(c) or 15 U.S.C. § 1117(d), and is not requesting the Court award these damages
   jointly and severally, therefore, there is no possibility of inconsistent liability. While all
   Defendants infringed ABS-CBN’s copyrights, only Defendant Number 4 – filikulamo.tk,
   Defendant Number 6 – fullpinoymovies.net, Defendant Number 15 – pinoymovies.site, and
   Defendant Number 24 – sunjerhd.com, infringed a registered copyright. As no Defendant
   responded to the Complaint and ABS-CBN was unable to participate in discovery, it cannot
   demonstrate Defendants’ actual revenue. Thus, ABS-CBN limits its request as to all other
   Defendants to the monetary judgment requested in Count I, to judgment on the claims, and the
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   requests the Court cancel, or at ABS-CBN’s election, transfer the domain names on Schedule “A”
   hereto (the “Subject Domain Names”) to ABS-CBN to ensure the associated websites may no longer
   be used as a means for illegally infringing ABS-CBN’s intellectual property.
   II.     STATEMENT OF FACTS
              A. ABS-CBN’s Rights.
           ABS-CBN International is a California Corporation and a subsidiary of ABS-CBN
   Corporation. (Declaration of Elisha J. Lawrence in Support of Plaintiffs’ Application for Entry of
   TRO [“Lawrence Decl.”] ¶ 2).2 ABS-CBN Corporation also owns ABS-CBN Film Productions, Inc.,
   both of which are companies organized under the laws of the Republic of the Philippines (“the
   Philippines”) with their principal places of business therein. (Id.) ABS-CBN Film Productions, Inc. is
   the owner of the registered copyright in and to the movie identified in Exhibit 2 to the Complaint,
   D.E. 1-3, and ABS-CBN Corporation is the owner of the unregistered copyrights in and to the TV
   shows identified in Exhibit 3 to the Complaint, D.E. 1-4, and in paragraph 26 of the Complaint, these
   works are referred to herein collectively as the “Copyrighted Works.” (Lawrence Decl. ¶ 4.) Plaintiffs
   all share exclusive rights in and to the ABS-CBN Copyrighted Works, which are produced and then
   initially aired in the Philippines. (Lawrence Decl. ¶¶ 4, 8; Compl. ¶¶ 8, 26, 29.) ABS-CBN promotes
   and distributes its content on the Internet. (Compl. ¶¶ 1, 30; Lawrence Decl. ¶ 4.)
           Plaintiff ABS-CBN International is the owner of all rights in and to the federally registered
   trademarks identified in Paragraph 5 of the Lawrence Declaration (the “ABS-CBN Registered
   Marks”) as well as the common law trademark identified in Paragraph 6 (the “Common Law
   Mark”) (collectively, the “ABS-CBN Marks”), which are used in connection with high quality
   broadcast distribution services of television programs and movies in the categories identified
   therein. (See Lawrence Decl. ¶¶ 5-6; see also United States Trademark Registrations of the ABS-
   CBN Registered Marks at issue attached as Ex. 1 to the Compl., D.E. 1-2.) All Plaintiffs share
   exclusive rights in and to the ABS-CBN Marks. (Lawrence Decl. ¶ 6.) Moreover, all Plaintiffs are
   licensed to use and enforce the ABS-CBN Marks. (Id.) The ABS-CBN Marks are symbols of ABS-
   CBN’s quality, reputation, and goodwill and have never been abandoned. (Lawrence Decl. ¶ 9.)


   equitable relief requested in the Complaint.
   2
     On December 4, 2018, Plaintiffs filed their Application for Entry of Temporary Restraining Order
   and Preliminary Injunction (the “Application for TRO”), together with supporting exhibits and
   declarations, which are incorporated herein by reference, D.E. 5.


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   Furthermore, ABS-CBN has extensively used, advertised, and promoted the ABS-CBN Marks in
   the United States in association with its services, and has carefully monitored and policed the use
   of the ABS-CBN Marks. (Id. at ¶ 6-9.) As a result of ABS-CBN’s efforts, members of the
   consuming public readily identify services and audiovisual content bearing the ABS-CBN Marks
   as being quality services and content sponsored and approved by ABS-CBN. (Id.) Accordingly,
   the ABS-CBN Marks have achieved secondary meaning as identifiers of high quality broadcast
   distribution services and audiovisual content.
             B. Defendants’ Infringing Acts.
          As alleged by ABS-CBN, admitted by default, and established by the evidence submitted
   herewith, Defendants operated and controlled the Internet websites operating under the Subject
   Domain Names.3 (See Ex. 3 to the Compl., D.E. 1-4.) As such, Defendants are the active, conscious,
   and dominant force infringing the ABS-CBN Marks and facilitating access to illegal performances
   of ABS-CBN’s Copyrighted Works. Defendants provided links on their respective websites to
   instant streams which performed ABS-CBN’s Copyrighted Works. (See Ex. 3 to the Compl.) When
   a user clicks on a link to one of ABS-CBN’s copyrighted TV shows or movies, Defendants’ websites
   then streamed and performed the full-length version of the video, including, but not limited to ABS-
   CBN Copyrighted Works identified in Exhibit 2 and paragraph 26 to the Complaint. (See Declaration
   of Christine Ann Daley in Support of Plaintiffs’ Application for Entry of TRO [“Daley Decl. in
   Support of TRO”] ¶ 2; see also Ex. 3 to the Compl.)
          As admitted by Defendants through default, at all times relevant, Defendants have had full
   knowledge of ABS-CBN’s ownership of its Marks and Copyrighted Works, including its exclusive
   rights to use and license such intellectual property and the goodwill associated therewith. (Compl.
   ¶ 46, 60, 72, 87, 107, 117.) Defendants do not have, nor have they ever had, the right or authority
   to use the ABS-CBN Marks or Copyrighted Works for any purpose. (See Lawrence Decl. ¶ 12.)
   However, despite their known lack of authority to do so, Defendants were engaged in the activity
   of promoting, advertising, and distributing ABS-CBN’s Copyrighted Works under the ABS-CBN
   Marks using the Internet websites operating under the Subject Domain Names. (Compl. ¶¶ 1, 3-5,


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     Some Defendants use one of their domain names to act as a supporting domain name to direct
   traffic to their websites operating under other Subject Domain Names, from which users may
   view the Copyrighted Works, or frame advertising content. Thus, the web pages for the
   redirecting Subject Domain Names are included with the web pages to which those sites redirect
   or frame. (See Lawrence Decl. ¶ 13 n. 1; Daley Decl. in Support of TRO ¶ 2 n. 1, ¶ 5 n. 3.)


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   36-45, 47, 49-62, 76-80; 85-88; 93-94; 98-99; 104-107; 115-123; see also Lawrence Decl. ¶¶ 12-
   15; Ex. 3 to the Compl.) Defendants streamed the Copyrighted Works which were performed
   through a window within their respective websites. (Daley Decl. in Support of TRO ¶ 2.) It is
   believed that the Copyrighted Works were not uploaded by the websites’ users because the websites
   appeared to be closed and did not permit users to alter the content. (Id.)
          Defendants profit from the advertising revenue derived by driving users to their websites
   through the use of ABS-CBN’s Copyrighted Works. (Daley Decl. in Support of TRO ¶¶ 4-5;
   Lawrence Decl. ¶ 19.) The large inventory of popular entertainment content available on
   Defendants’ websites, including full-length copies of ABS-CBN’s Copyrighted Works, were
   designed to attract users to the infringing content and, thus, increase Defendants’ profits from the
   advertisers who paid Defendants based on the number of views that the advertising received. (D.E.
   Lawrence Decl. ¶ 19; Daley Decl. in Support of TRO ¶¶ 4-5.) The infringement-driven traffic
   increases the volume of advertising impressions and transactions, thus increasing revenues from
   the advertising services and enabling Defendants to charge advertisers higher rates. Lawrence Decl.
   ¶ 19; Daley Decl. in Support of TRO ¶¶ 4-5.) ABS-CBN’s counsel investigated the advertising
   accounts used by Defendants by inspecting the Hyper Text Markup Language (“html”) Source
   Code for the Subject Domain Names and locating and identifying many of the advertising revenue
   accounts of the Defendants, as identified on Schedule “B” hereto. (Daley Decl. in Support of TRO
   ¶ 5. and Comp. Ex. 2 thereto, D.E. 5-4.)
          ABS-CBN’s representative, Elisha J. Lawrence, confirmed Defendants are not and were
   never entitled to use the ABS-CBN Marks or perform or otherwise distribute the ABS-CBN
   Copyrighted Works offered for distribution under those Marks. (See Lawrence Decl. ¶¶ 12-15.)
             C. Procedural Background.
          ABS-CBN filed its Complaint against Defendants on December 4, 2018, D.E. 1. ABS-
   CBN filed its Application for TRO on December 4, 2018, D.E. 5. On December 6, 2018, this Court
   entered a Sealed Order Granting Temporary Restraining Order (the “Temporary Restraining
   Order”), D.E. 7, and subsequently converted the temporary restraining order into a preliminary
   injunction on January 4, 2019, D.E. 19. The TRO and Preliminary Injunction required, inter alia,
   certain advertising services associated with Defendants to identify and restrain all funds and to divert
   to a holding account for the trust of the Court all funds currently in, or which during the pendency
   of the Order come in to, Defendants’ associated payment accounts, including all accounts tied to,


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   associated with, or that transmit funds into Defendants’ payment accounts, and divert those funds to
   a holding account for the trust of the Court. (See (Declaration of Christine Ann Daley in Support of
   Plaintiffs’ Motion for Entry of Final Default Judgment “Daley Decl.”), filed herewith, ¶ 5.) ABS-
   CBN’s counsel later received notice from certain advertising services that they complied with the
   requirements of the Court’s Order. (Id.)
          On December 5, 2018 ABS-CBN filed its Motion for Order Authorizing Alternate Service
   of Process, D.E. 6, which the Court granted December 6, 2018, D.E. 9, entered on docket
   December 7, 2018. Pursuant to the Court’s December 6, 2018 Order, ABS-CBN served each
   Defendant with a copy of its respective Summons and the Complaint via electronic mail and
   publication service on January 4, 2019. See D.E. 21.
          The time for Defendants to respond to the Complaint has expired and Defendants have not
   been granted any extension of time to respond, nor have they served or filed an Answer or other
   response. (Daley Decl. at ¶¶ 8-9.) To ABS-CBN’s knowledge, Defendants are not infants or
   incompetent persons and the Servicemembers Civil Relief Act does not apply. (See id. at ¶¶ 10-
   11.) On February 22, 2019 ABS-CBN filed its request for Clerk’s Entry of Default, D.E. 23. (Daley
   Decl. ¶ 12.) The Clerk entered default against each Defendant on February 22, 2019, D.E. 24. (Id.)
   ABS-CBN now moves the Court to grant Final Default Judgment and submits this Motion for
   Entry of Final Default Judgment in compliance with the Court’s March 5, 2019 Order requiring
   the same, D.E. 25.
   III.   ARGUMENT
             A. Default Judgment Should Be Entered Against Defendants.
          This Court has subject matter jurisdiction over this action pursuant to 17 U.S.C. §§ 101 et
   seq., 15 U.S.C. § § 1114 and 1125(a), and 28 U.S.C. §§ 1331, 1338(a) & (b). (Compl. ¶¶ 6-10.)
   Personal jurisdiction over Defendants and venue in this Judicial District are proper under 28 U.S.C.
   § 1391 as Defendants directed business activities toward consumers within this District and caused
   harm to ABS-CBN’s business through the fully accessible Internet websites operating under the
   Subject Domain Names and because Defendants are non-resident aliens. (Id. at ¶¶ 9, 10.)
                  1.      Default Judgment is Proper.
          Pursuant to Federal Rule of Civil Procedure 55(b)(2), the Court is authorized to enter a
   final judgment of default against a party who has failed to plead in response to a complaint. By
   such a default, all of ABS-CBN’s well-plead allegations in the Complaint are deemed admitted.


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   See Petmed Express, Inc. v. Medpets.com, 336 F. Supp. 2d 1213, 1217 (S.D. Fla. 2004) (citing
   Buchanan v. Bowman, 820 F.2d 359 (11th Cir. 1987)). Accordingly, the well-pled factual
   allegations of ABS-CBN’s Complaint will be taken as true. (See id.) In this case, the Complaint,
   pleadings, and the declarations filed in support of ABS-CBN’s Motion for Entry of Final Default
   Judgment clearly demonstrate that default judgment pursuant to Rule 55 of the Federal Rules of
   Civil Procedure should be entered against Defendants.
                  2.      Factual Allegations Establish Defendants’ Liability.
          Title 15 U.S.C. § 1114 provides liability for trademark infringement if, without the consent
   of the registrant, a defendant uses “in commerce any reproduction, counterfeit, copy, or colorable
   imitation of a registered mark: which is likely to cause confusion, or to cause mistake, or to
   deceive.” In order to prevail on its trademark infringement claim under Section 32 of the Lanham
   Act, ABS-CBN must demonstrate: (1) it had prior rights to the trademarks at issue; and (2)
   Defendants have adopted a mark or name that was the same, or confusingly similar to ABS-CBN’s
   trademarks, such that consumers were likely to confuse the two. Planetary Motion, Inc. v.
   Techsplosion, Inc., 261 F.3d 1188, 1193 (11th Cir. 2001) (citing Lone Star Steakhouse & Saloon,
   Inc. v. Longhorn Steaks, Inc., 106 F.3d 355, 360 (11th Cir. 1997)). The analysis of liability for
   Florida common law trademark infringement is the same as the analysis of liability for trademark
   infringement under § 32(a) of the Lanham Act, as discussed supra. PetMed Express, Inc., 336 F.
   Supp. 2d at 1217-18.
          To prevail on a claim of false designation of origin under Section 43(a) of the Lanham Act,
   ABS-CBN must prove that Defendants used in commerce, in connection with any goods or
   services, any word, term, name, symbol or device, or any combination thereof, or any false
   designation of origin, which is likely to deceive as to the affiliation, connection, or association of
   Defendants with ABS-CBN, or as to the origin, sponsorship, or approval, of Defendants’ services
   by ABS-CBN. 15 U.S.C. § 1125(a)(1). As with trademark infringement claims, the test for liability
   for false designation of origin under Section 43(a) is also “whether the public is likely to be
   deceived or confused by the similarity of the marks at issue.” Two Pesos, Inc. v. Taco Cabana,
   Inc., 505 U.S. 763, 780, 112 S.Ct. 2753, 2763 (1992).
          Whether a defendant’s use of the plaintiff’s trademarks created a likelihood of confusion
   between a plaintiff’s and defendant’s services is also the determining factor in the analysis of unfair
   competition under the common law of Florida. Rolex Watch U.S.A., Inc. v. Forrester, No. 83–


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   8381–Civ-Paine, 1986 WL 15668, at *3 (S.D. Fla. Dec. 9, 1987) (“The appropriate test for
   determining whether there is a likelihood of confusion, and thus trademark infringement, false
   designation of origin, and unfair competition under the common law of Florida, is set forth in John
   H. Harland, Inc. v. Clarke Checks, Inc., 711 F.2d 966, 972 (11th Cir. 1983).”)
          ABS-CBN’s Complaint also sets forth a cause of action for direct infringement of copyright
   pursuant to the Copyright Act, 17 U.S.C. §§ 106(1), (3) and (4). ABS-CBN must “satisfy two
   requirements to present a prima facie case of direct copyright infringement: (1) they must show
   ownership of the allegedly infringed material, and (2) they must demonstrate that the alleged
   infringers violated at least one exclusive right granted to copyright holders under 17 U.S.C. § 106.”
   A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001). See also Disney Enters.
   v. Hotfile Corp., Case No. 11-20427-CIV-Williams, 2013 U.S. Dist. LEXIS 172339, at *94 (S.D.
   Fla. 2013).
          Finally, to prevail on a claim of contributory infringement of copyright, a plaintiff must
   establish: (1) direct infringement; (2) that defendant had knowledge of the direct infringement; and
   (3) that defendant intentionally induced, encouraged or materially contributed to the direct
   infringement. See Tiffany (NJ), LLC v. Liu Dongping, 2010 U.S. Dist. LEXIS 121232, 14-17
   (S.D. Fla. Oct. 29, 2010) (citing MGM Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930, 125 S.
   Ct. 2764, 162 L. Ed. 2d 781 (2005)).
          The well-pled factual allegations of ABS-CBN’s Complaint, including specifically those pled in
   Paragraphs 3-5, 36-62, 76-80; 85-88; 93-94; 98-99; 104-107; 115-123, D.E. 1, properly allege the
   elements for each of the above claims. Moreover, the factual allegations in ABS-CBN’s Complaint,
   substantiated by evidence submitted herewith, conclusively establish each Defendant’s liability under
   each claim asserted in the Complaint. Accordingly, Default Judgment pursuant to Rule 55 of the Federal
   Rules of Civil Procedure should be entered against Defendants.
             B. Plaintiffs’ Requested Relief Should be Granted.

                  1.      Entry of Permanent Injunction is Appropriate.

          Pursuant to the Lanham Act, a district court is authorized to issue an injunction “according
   to the principles of equity and upon such terms as the court may deem reasonable,” to prevent
   violations of trademark law. 15 U.S.C. § 1116(a). Indeed, “[i]njunctive relief is the remedy of
   choice for trademark and unfair competition cases, since there is no adequate remedy at law for
   the injury caused by a defendant's continuing infringement.” Burger King Corp. v. Agad, 911 F.

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   Supp. 1499, 1509-10 (S.D. Fla. 1995) (citing Century 21 Real Estate Corp. v. Sandlin, 846 F.2d
   1175, 1180 (9th Cir. 1988)). Even in a default judgment setting, injunctive relief is available. See,
   e.g., Petmed Express, Inc. v. Medpets.com, 336 F. Supp. 2d 1213, 1222-23 (S.D. Fla. 2004).
   Defendants’ failure to respond or appear in this action makes it difficult for ABS-CBN to prevent
   further infringement absent an injunction. See Jackson v. Sturkie, 255 F. Supp. 2d 1096, 1103
   (N.D. Cal. 2003) (“[D]efendant’s lack of participation in this litigation has given the court no
   assurance that defendant's infringing activity will cease. Therefore, plaintiff is entitled to
   permanent injunctive relief.”) Pursuant to 15 U.S.C. § 1116, this Court should permanently enjoin
   Defendants from infringing any of ABS-CBN’s intellectual property rights.
          Permanent injunctive relief is appropriate where ABS-CBN demonstrates (1) it has
   suffered irreparable injury; (2) there is no adequate remedy at law; (3) the balance of hardships
   favors an equitable remedy; and (4) an issuance of an injunction is in the public’s interest. eBay
   Inc., v. MercExchange, LLC, 547 U.S. 388, 392-93, 126 S. Ct. 1837, 164 L. Ed. 2d 641 (2006).
   As demonstrated herein, ABS-CBN has clearly carried its burden on each of the four factors,
   warranting permanent injunctive relief, because Defendants have unlawfully used ABS-CBN’s
   goodwill to make a profit. Accordingly, a permanent injunction against Defendants’ counterfeiting
   and infringing activities is appropriate and necessary.
          Defendants’ actions merit permanent injunctive relief to protect ABS-CBN’s reputation
   and protect consumers from deception as to the quality and source of services offered and
   advertised under ABS-CBN’s Marks. The facts alleged in the Complaint, substantiated by the
   evidence herein, show Defendants infringed and induced others to infringe the ABS-CBN Marks
   by using them to advertise and promote illegal distribution of ABS-CBN’s Copyrighted Works.
          ABS-CBN will continue to suffer irreparable injury if Defendants’ infringing activities are
   not permanently enjoined. (Lawrence Decl. ¶¶ 20-24.) In trademark cases, “a sufficiently strong
   showing of likelihood of confusion ... may by itself constitute a showing of a substantial threat of
   irreparable harm.” McDonald's Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir.1998). See also
   Levi Strauss & Co. v. Sunrise Int'l Trading Inc., 51 F.3d 982, 986 (11th Cir.1995) (“There is no
   doubt that the continued sale of thousands of pairs of counterfeit jeans would damage LS & Co.’s
   business reputation and might decrease its legitimate sales.”) Furthermore, “harm might be
   irremediable, or irreparable, for many reasons, including that a loss is difficult to replace or
   difficult to measure, or that it is a loss that one should not be expected to suffer. In the context of


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   copyright infringement cases, the harm to the plaintiff's property interest has often been
   characterized as irreparable in light of possible market confusion.” See Salinger v. Colting, 607
   F.3d 68, 77 and n.6, 77-83 (2nd Cir. 2010); see WPIX, Inc. v. ivi, Inc., 765 F. Supp. 2d 594, 617-
   621 (S.D.N.Y. 2011) (granting injunction based on streaming over Internet of copyrighted TV
   programming). In any event, ABS-CBN’s Complaint alleges that Defendants’ unlawful actions
   have caused ABS-CBN irreparable injury, and will continue to do so if Defendants are not
   permanently enjoined. (Compl. ¶¶ 74, 81, 83, 89, 91, 96, 101, 110, 126.) Defendants have defaulted
   upon ABS-CBN’s factual allegations in that respect.
          It can hardly be said Defendants face hardship in refraining from willful infringement of
   ABS-CBN’s intellectual property, whereas ABS-CBN faces hardship from loss of sales and
   inability to control its reputation. Defendants have no cognizable hardship, as they will be
   prohibited from promoting and offering distribution services of ABS-CBN’s Copyrighted Works
   under ABS-CBN’s Marks, which are illegal acts to begin with. ABS-CBN has suffered irreparable
   harm while “[i]t is axiomatic that an infringer of copyright cannot complain about the loss of ability
   to offer its infringing product.” WPIX, 765 F. Supp. 2d at 603; see, e.g., EyePartner, Inc. v. Kor
   Media Group LLC, 2013 U.S. Dist. LEXIS 98370, at *16 (and cases cited therein). Finally, the public
   has an interest in the issuance of a permanent injunction against Defendants in order to prevent
   consumers from being misled by Defendants’ services. See Nike, Inc. v. Leslie, 227 U.S.P.Q. 574,
   575 (1985) (“[A]n injunction to enjoin infringing behavior serves the public interest in protecting
   consumers from such behavior.”). The public interest is protected by issuing an injunction because
   ABS-CBN loses valuable incentives to continue to create programming if it continues to be deprived
   of (1) control over its Copyrighted Works, (2) how and where the Copyrighted Works get distributed,
   including Internet retransmissions through negotiated licenses and their portals, and (3) potential
   revenue sources. Protecting ABS-CBN’s rights is consistent with, if not equivalent to, promoting the
   public interest. See Salinger, 607 F.3d at 82; WPIX, 765 F. Supp. 2d at 621; CBS Broad., Inc. v.
   EchoStar Communs. Corp., 265 F.3d 1193, 1198 (11th Cir. 2001) (“the public interest lies with
   protecting the rights of copyright owners.”); C.B. Fleet Co. v. Unico Holdings, Inc., 510 F. Supp. 2d
   1078, 1084 (S.D. Fla. 2007) (“The public interest can only be served by upholding copyright
   protection and preventing the misappropriation of protected works.”). The permanent injunction will
   prevent consumer confusion and deception in the marketplace, and will protect ABS-CBN’s property




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   interest in its Marks and Copyrighted Works, which are the touchstones of trademark and copyright
   law.
           As admitted by Defendants through default, (i) the Subject Domain Names are essential
   components of Defendants’ infringing activities; and (ii) the domain names are the means by which
   Defendants further their infringing schemes and cause harm to ABS-CBN. (Compl. ¶ 45.) Therefore,
   in order to effectuate the injunction as a practical matter, the Subject Domain Names should be
   ordered transferred to ABS-CBN’s control by Defendants, their Registrars, Registries, and/or Clerk
   of Court. Absent the transfer of the Subject Domain Names, Defendants will remain free to continue
   infringing ABS-CBN’s trademarks and copyrights with impunity and will continue to benefit from
   the unlawful use of ABS-CBN’s intellectual property.
           The Court’s powers of equity are sufficiently broad to compel measures necessary to enforce
   an injunction against infringement. See, e.g., Swann v. Charlotte-Mecklenburg Bd. of Educ., 402
   U.S. 1, 15 , 91 S. Ct. 1267, 1276 (1971) (“Once a right and a violation have been shown, the scope
   of a district court’s equitable powers to remedy past wrongs is broad, for. . . the essence of equity
   jurisdiction has been the power of the Chancellor to do equity and to mould each decree to the
   necessities of the particular case.”); United States v. Bausch & Lomb Optical Co., 321 U.S. 707, 724
   (1944) (“Equity has power to eradicate the evils of a condemned scheme by prohibition of the use
   of admittedly valid parts of an invalid whole.”). District courts are expressly authorized to order the
   transfer or surrender of domain names in an in rem action against a domain name. See 15 U.S.C. §§
   1125(d)(1)(C), (d)(2). However, the remedy is by no means limited to that context. See, e.g., Philip
   Morris USA v. Otamedia Ltd., 331 F. Supp. 2d 228, 230-31 (S.D.N.Y. 2004) (Yesmoke.com domain
   name transferred to plaintiff despite the fact that plaintiff did not own a trademark in the term
   “Yesmoke” and noting that 15 U.S.C. § 1125 “neither states nor implies that an in rem action against
   the domain name constitutes the exclusive remedy for a plaintiff aggrieved by trademark violations
   in cyberspace.”); Ford Motor Co. v. Cross, 441 F. Supp. 2d 837, 853 (E.D. Mich. 2006) (defendants
   ordered to disclose all other domain registrations held by them and to transfer registration of a
   particular domain name to plaintiff in part under authority of 15 U.S.C. § 1116(a)). This Court and
   others have not hesitated to order the transfer of domain names when faced with factual scenarios
   similar to the one herein.4


   4
    See ABS-CBN Corporation v. Pinoytfc.com, Case No. 18-cv-62083-WPD (S.D. Fla. Jan. 14, 2019,
   entered on docket Jan. 14, 2019) (awarding transfer of domain names at issue as part of grant of

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          Defendants have created an Internet-based infringement scheme and are profiting from the
   deliberate misappropriation of ABS-CBN’s rights. The Court should thus eliminate the means by
   which Defendants are conducting their unlawful activities by transferring the Subject Domain
   Names to ABS-CBN, where they may be disabled from further use as a platform for the illegal
   distribution of ABS-CBN’s Copyrighted Works under counterfeits of ABS-CBN’s trademarks.

                  2.      Damages as to Count I for Trademark Counterfeiting and
                          Infringement.

          In a case involving the use of counterfeit marks in connection with a sale, offering for sale,
   or distribution of services, 15 U.S.C. § 1117(c) provides that a plaintiff may elect an award of
   statutory damages at any time before final judgment is rendered in the sum of not less than $1,000.00
   nor more than $200,000.00 per counterfeit mark per type of good or service. 15 U.S.C. § 1117(c)(1).5
   In addition, if the Court finds that Defendants’ counterfeiting actions were willful, it may impose
   damages above the maximum limit up to $2,000,000.00 per mark per type of good or service. 15
   U.S.C. § 1117(c)(2). Pursuant to 15 U.S.C. § 1117(c), ABS-CBN elects to recover an award of
   statutory damages as to Count I of the Complaint.
          The Court has wide discretion to set an amount of statutory damages. Petmed Express, Inc.,
   336 F. Supp. 2d at 1219 (citing Cable/Home Commc’n Corp. v. Network Prod., Inc., 902 F.2d 829,
   852 (11th Cir. 1990). An award of statutory damages is an appropriate remedy, despite a plaintiff’s
   inability to provide actual damages caused by a defendant’s infringement. Ford Motor Co. v. Cross,
   441 F. Supp. 2d 837, 852 (E.D. Mich. 2006) (“[A] successful plaintiff in a trademark infringement
   case is entitled to recover enhanced statutory damages even where its actual damages are nominal or
   non-existent.”). Congress enacted a statutory damages remedy in trademark counterfeiting cases

   permanent injunction); ABS-CBN Corporation v. Freepinoychannel.com, Case No. 15-cv-61002-
   WPD (S.D. Fla. Oct. 13, 2015) (same); Chanel, Yeti Coolers v. Cheapyetitumbler.com, Case No.
   18-cv-61674-WPD (S.D. Fla. Sept. 24, 2018) (same); YETI Coolers, LLC v. buyyetis.com, Case
   No. 17-cv-60729-WPD (S.D. Fla. July 14, 2017) (same); Tiffany (NJ) LLC v.
   besttiffanyoutlet.com, Case No. 17-cv-62343-WPD (S.D. Fla. Apr. 10, 2018) (same); Chanel, Inc.
   v. itbags.club, Case No. 18-cv-60157-WPD (S.D. Fla. Mar. 13, 2018) (same); Gucci America, Inc.
   v. acousticwater.com, Case No. 17-cv-62342-WPD (S.D. Fla. Feb. 28, 2018) (same).
   5
     ABS-CBN’s Complaint also sets forth a cause of action for false designation of origin pursuant
   to § 43(a) of the Lanham Act (15 U.S.C. § 1125(a)) (Count II), a cause of action under Florida’s
   common law of unfair competition (Count III), and a cause of action under Florida’s common
   law of trademark infringement (Count IV). As to these Counts, the allowed scope of monetary
   damages is encompassed in 15 U.S.C. § 1117(c). Accordingly, judgment on these Counts should
   be limited to the amount awarded pursuant to Count I and entry of the requested equitable relief.


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   because evidence of a defendant’s profits in such cases is almost impossible to ascertain. See, e.g., S.
   REP. NO. 104-177, pt. V(7) (1995) (discussing purposes of Lanham Act statutory damages.) See also
   Petmed Express, Inc., 336 F. Supp. 2d at 1220 (statutory damages are “especially appropriate in default
   judgment cases due to infringer nondisclosure”). This case is no exception.
          A defendant’s intent can be of probative value for establishing willfulness, triggering an
   enhanced statutory award. Petmed Express, Inc., 336 F. Supp. 2d at 1220. A defendant is deemed to
   have acted willfully where “the infringer acted with actual knowledge or reckless disregard” to a
   plaintiff’s rights. See Arista Records, Inc. v. Beker Enter., Inc., 298 F. Supp. 2d 1310, 1312 (S.D.
   Fla. 2003). Willfulness may also be inferred from the defendant’s default. See Petmed Express, Inc.,
   336 F. Supp. 2d at 1217 (upon default, well plead allegations taken as true)). In either case, a
   defendant is deemed to have the requisite knowledge that its acts constitute an infringement.
          The ABS-CBN Marks are renowned worldwide as identifiers of high quality broadcast
   distribution services, and Defendants clearly wrongfully used those marks for the purpose of trading
   upon ABS-CBN’s goodwill. Indeed, in a case of clear-cut copying such as this, it is appropriate to
   infer that Defendants intended to cause confusion and benefit from ABS-CBN’s reputation, to ABS-
   CBN’s detriment. See Petmed Express, Inc., 336 F. Supp. 2d at 1220 (court infers intent to confuse
   consumers into believing affiliation from Defendant’s use of such a mark that was confusingly
   similar). Moreover, in this District, it has been held that when an alleged infringer adopts a mark
   “with the intent of obtaining benefit from the plaintiff’s business reputation, ‘this fact alone may be
   sufficient to justify the inference that there is confusing similarity.’” Turner Greenberg Assocs., 320
   F. Supp. 2d 1317, 1333 (S.D. Fla. 2004) (citing Carnival Corp. v. Seaescape Casino Cruises, Inc.,
   74 F. Supp. 2d 1261, 1268 (S.D. Fla. 1999)).
          The evidence establishes Defendants intentionally copied the ABS-CBN Marks for the
   purpose of deriving the benefit of ABS-CBN’s world-famous reputation. Defendants defaulted on
   ABS-CBN’s allegations of willfulness. (Compl. ¶¶ 1, 5, 61, 108, 125.) See Arista Records, Inc., 298
   F. Supp. 2d at 1313 (finding a Court may infer willfulness from the Defendant’s default.) As such,
   this Court should award a significant amount of statutory damages under the Lanham Act to ensure
   Defendants do not continue their intentional and willful counterfeiting activities.
          The evidence in this case demonstrates that each Defendant promoted, distributed, and
   advertised services and copyrighted content under marks which were in fact counterfeits of at least one
   of the ABS-CBN Marks. (Compl. ¶¶ 3-5, 36-62, 76-80; 85-88; 93-94; 98-99; 104-107; 115-123;


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   see generally Ex. 3 to the Compl., D.E. 1-4, relevant captures of Defendants’ websites operating under
   their Subject Domain Names, showing infringements of the ABS-CBN Marks). Based on the above
   considerations, ABS-CBN respectfully suggests the Court award statutory damages of $1,000,000.00
   against each Defendant.
          ABS-CBN’s requested damage should be sufficient to deter Defendants and others from
   continuing to counterfeit or otherwise infringe ABS-CBN’s trademarks, compensate ABS-CBN, and
   punish Defendants, all stated goals of 15 U.S.C. § 1117(c). Joint Statement of Trademark
   Counterfeiting Legislation, H.R.J. Res. 648, 98th Cong., 2nd Sess., 130 Cong. Rec. H12076, H12083;
   Petmed Express, Inc., 336 F. Supp. 2d at 1222 (“statutory damages under § 1117(c) are intended not
   just for compensation for losses, but also to punish and deter wrongful conduct.”). This Court, and
   other courts in this District have granted statutory damages under the Lanham Act in a manner similar
   to ABS-CBN’s request herein.6
                  3.      Plaintiffs’ Damages as to Count V for Direct Infringement of
                          Copyright.
          ABS-CBN’s Complaint also sets forth a cause of action for direct infringement of copyright
   under 17 U.S.C. § 504 and requested statutory damages under 17 U.S.C. § 504(c). Defendants have
   defaulted on the well-pled allegations of Count V. Because Defendants failed to respond to Plaintiffs’
   copyright infringement claim and participate in discovery, Plaintiffs cannot demonstrate Defendants’
   actual revenue. Accordingly, Plaintiffs elect to be awarded statutory damages within the provisions
   of Section 504(c) of the Copyright Act, 17 U.S.C. § 504(c), enhanced to reflect the willful nature of
   the Defendants’ infringement, instead of an award of actual damages or profits.7


   6
     See; ABS-CBN Corporation v. Pinoytfc.com, Case No. 18-cv-62083-WPD (S.D. Fla. Jan. 14,
   2019, entered on docket Jan. 14, 2019) (awarding Plaintiff $1,000,000.00 against each Defendant);
   ABS-CBN Corporation v. Freepinoychannel.com, Case No. 15-cv-61002-WPD (S.D. Fla. Oct. 13,
   2015) (same); Chanel, Inc. v. Chanel, Inc. v. Chanel.mcm, Case No. 18-cv-62477-WPD, (S.D. Fla.
   Dec. 28, 2018) (same); adidas AG v. anngoo, Case No. 18-cv-61589-WPD (S.D. Fla. Nov. 21,
   2018) (same); Yeti Coolers v. Cheapyetitumbler.com, Case No. 18-cv-61674-WPD (S.D. Fla.
   Sept. 24, 2018) (same); Fendi, S.r.l. v. ahajama_0, Case No. 18-cv-61263-WPD (S.D. Fla. Sept.
   14, 2018) (same); Chanel, Inc. v. itpurse.cn, Case No. 18-cv-61233-WPD (S.D. Fla. Aug. 7, 2018).
   7
      While all Defendants infringed ABS-CBN’s copyrights, only Defendant Number 4 –
   filikulamo.tk, Defendant Number 6 – fullpinoymovies.net, Defendant Number 15 –
   pinoymovies.site, and Defendant Number 24 – sunjerhd.com infringed a registered copyright. As
   no Defendant responded to the Complaint, and Plaintiffs were unable to participate in discovery,
   Plaintiffs cannot demonstrate Defendants’ actual revenue. Thus, ABS-CBN limits its request as to
   all other Defendants to the monetary judgment requested in Count I, to judgment on the claims,
   and the equitable relief requested in the Complaint.


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           17 U.S.C. § 504(c) provides that a copyright owner may elect an award of statutory
   damages before final judgment is rendered, “to recover, instead of actual damages and profits, an
   award of statutory damages for all infringements involved in the action, with respect to any one
   work, for which any one infringer is liable individually… in a sum of not less than $750 or more
   than $30,000 as the court considers just.” Further, if the Court finds Defendants’ copyright
   infringement was willful, “the court in its discretion may increase the award of statutory damages to
   a sum of not more than $150,000.” 17 U.S.C. § 504(c)(2). Pursuant to 17 U.S.C. § 504(c), Plaintiffs
   seek to recover an award of statutory damages as to Count V of the Complaint.
           The Court has wide discretion to set an amount of statutory damages. Tiffany (NJ), LLC v. Liu
   Dongping, 2010 U.S. Dist. LEXIS 121232, Case No. 10-61214-CIV-SEITZ (S.D. Fla. Oct. 29, 2010).
   Indeed, an award of statutory damages is appropriate, because statutory damages may be elected
   whether or not there is adequate evidence of the actual damages suffered by plaintiff or of the profits
   reaped by the Defendants. Harris v. Emus Records Corp., 734 F.2d 1329, 1335 (9th Cir. 1984). “A rule
   of liability which merely takes away the profits from an infringement would offer little discouragement
   to infringers. It would fall short of an effective sanction for enforcement of the copyright policy. The
   statutory rule, formulated after long experience, not merely compels restitution of profit and reparation
   for injury but also is designed to discourage wrongful conduct. The discretion of the court is wide
   enough to permit a resort to statutory damages for such purposes.” F. W. Woolworth Co. v.
   Contemporary Arts, Inc., 344 U.S. 228, 233 (1952).
           A defendant’s intent can be of probative value for establishing willfulness, triggering an
   enhanced statutory award. Cable/Home Comm'n Corp. v. Network Prods, Inc., 902 F.2d 829, 851
   (11th Cir. 1990). A defendant is deemed to have acted willfully where “the infringer acted with
   actual knowledge or reckless disregard” to a plaintiff’s intellectual property rights. See Arista
   Records, Inc. v. Beker Enter., Inc., 298 F. Supp. 2d 1310, 1312 (S.D. Fla. 2003). Willfulness may
   also be inferred from the defendant’s default. See Petmed Express, Inc., 336 F. Supp. 2d at 1217
   (upon default, well plead allegations taken as true)). In either case, a defendant is deemed to have
   the requisite knowledge that its acts constitute an infringement.
           Plaintiffs are renowned producers of high quality entertainment content, including television
   shows and movies. The evidence establishes Defendants willfully infringed Plaintiffs’ copyrighted
   programming in order to attract visitors to their websites, so that they may in turn profit from these
   visitors’ page views in the form of advertising revenue. In any event, Defendants have defaulted on


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   Plaintiffs’ allegations of willfulness. (Compl. ¶ 1, 5, 61, 108, 125.) See Arista Records, Inc., 298 F.
   Supp. 2d at 1313 (finding a Court may infer willfulness from the defendants’ default.) As such, this
   Court should award a significant amount of statutory damages under the Copyright Act to ensure
   Defendants will not continue their intentional and willful infringing activities.
           ABS-CBN requests the Court award them $30,000.00 each against Defendant Number 4 –
   filikulamo.tk, Defendant Number 6 – fullpinoymovies.net, Defendant Number 15 –
   pinoymovies.site, and Defendant Number 24 – sunjerhd.com, for each of their infringements of
   the registered copyrighted work identified as “Sin Island,” registration number PA2120607,
   identified in Exhibit “2” to the Complaint, D.E. 1-3. (See Defendant Number 4’s infringement
   thereof in Ex. 3 to the Comp., D.E. 1-4 at pp. 27-31; Defendant Number 6’s infringement thereof in
   Ex. 3 to the Compl., D.E. 1-4 at pp. 51-55; Defendant Number 15’s infringement thereof in Ex. 3 to
   the Compl., D.E. 1-4 at pp. 119-123; and Defendant Number 24’s infringement thereof in Ex. 3 to
   the Compl., D.E. 1-4 at pp. 160-164.) The requested amount is the highest for non-willful
   infringement, despite Defendants’ default on allegations of willfulness, and such an amount per
   work infringed has been previously awarded by this Court and other courts in this district.8
               a. Recovery of Statutory Damages Under Both the Lanham Act and the
                   Copyright Act is Appropriate
           Recovering under both the Lanham Act and the Copyright Act is appropriate in the instant
   case. Defendants herein willfully committed two wrongs, copyright and trademark infringement,
   and ABS-CBN has proven violations of both statutes. “A plaintiff is entitled to a separate award
   of statutory damages under both the Copyright Act and the Lanham Act when the defendant
   simultaneously infringes a copyright and trademark.” Microsoft Corp. v. Online Datalink
   Computer, Inc. 2008 WL 1995209 *3 (S.D. Cal. 2008) (citing Nintendo of America, Inc. v. Dragon
   Pacific Int’l, 40 F.3d 1007, 1011 (9th Cir. 1994)). See also Microsoft Corp. v. McGee, 490 F.
   Supp. 2d 874, 881-882 (S.D. Ohio 2007) (“successful plaintiff is entitled to recover a separate
   award of statutory damages under both the Copyright Act and the Lanham Act when a defendant


   8
    ABS-CBN Corporation v. Pinoytfc.com, Case No. 18-cv-62083-WPD (S.D. Fla. Jan. 14, 2019,
   entered on docket Jan. 14, 2019); ABS-CBN Corporation v. Freepinoychannel.com, Case No. 15-
   cv-61002-WPD; ABS-CBN Corporation v. Aceshowbiz.me, Case No. 18-cv-61553-DPG (S.D.
   Fla. Oct. 23, 2018, entered on docket October 24, 2018); ABS-CBN Corporation v.
   angprobinsyano1.com, Case No. 18-cv-61051-KMM (S.D. Fla. Aug. 31, 2018); ABS-CBN
   Corporation v. pinoytvtfc.com, Case No. 17-cv-61051-CMA (S.D. Fla. Dec. 28, 2017, entered on
   docket Dec. 29, 2017).


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   has infringed both its trademarks and copyrights, even when by a single act.”); Microsoft Corp. v.
   Black Cat Computer Wholesale, Inc., 269 F. Supp. 2d 118, 123-24 (W.D.N.Y. 2002) (a successful
   plaintiff in a combined copyright and trademark infringement action is entitled to separate awards
   of statutory damages under both the Copyright Act and the Lanham Act when a defendant has
   infringed both the owner's trademarks and copyrights.”); Microsoft Corp. v. Tierra Computer, Inc.,
   184 F. Supp. 2d 1329, 1331 (N.D. Ga. 2001) (“This Court holds that the Plaintiff’s request for
   statutory damages under both acts is not an impermissible double recovery.”).
          The facts and circumstances of the instant case mirror those in Tierra Computer.
   Defendants held themselves out as authorized distributors for Plaintiffs’ content by using the ABS-
   CBN Marks to promote and advertise the pirated content. “Insofar as the Lanham Act and
   Copyright Act provide separate remedies for distinct injuries, [Plaintiff] may seek damages under
   each act.” Id. (See also Nintendo of America, Inc. v. Dragon Pacific Int’l, 40 F.3d 1007, 1011 (9th
   Cir. 1994) aff’d, 51 F.3d 281 (9th Cir.1995) See also, Do It Best Corp. v. Passport Software, Inc.,
   2004 WL 1660814, 16 (N.D. Ill. 2004) (“The Copyright Act does not preempt the Lanham Act, or
   vice versa, and therefore a party may recover under both statutes.”) Not only had the Defendants
   infringed on ABS-CBN’s copyrights, but the Defendants have also negatively impacted and
   confused consumers’ view of ABS-CBN’s distribution services by using their trademarks for
   subpar distribution services.
           “Trademark and copyright injuries are quite distinct.” Sparaco v. Lawler, Matusky, Skelly
   Engineers, LLP, 313 F.Supp.2d 247, 255 (S.D. N.Y. 2004). The Copyright Act prohibits copying
   of a protected work solely for the benefit of the right holder. “The Lanham Act prohibits someone
   from trading on the good name and reputation that another has built in a recognizable symbol” for
   the benefit of both the right holder and the consuming public. Sparaco v. Lawler, Matusky, Skelly
   Engineers, LLP, 313 F. Supp. 2d 247, 255 (S.D.N.Y. 2004). Statutory damages for trademark
   infringement and copyright infringement are intended to be both compensatory and punitive. See
   Senate Section-by-Section Analysis, Cong Rec. S12084 (Aug. 9, 1995), reprinted in 50 PTCJ 425
   (Aug. 17, 1995) An award of statutory damages under the Lanham Act and the Copyright Act is
   similar to separate awards of punitive damages. “Such awards are not duplicative per se.” Mason v.
   Oklahoma Turnpike Authority, 115 F.3d 1442, 1460 (10th Cir. 1997).
          Statutory damages also serve non-compensatory purposes, as the Defendants committed
   two separate acts, and caused two distinct injuries, an award of separate statutory damages for


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   trademark and copyright infringement would be suitable. (See Lifted Research Grp., Inc. v.
   Behdad, Inc., Case No. 1:08-cv-0390-CKK (D.D.C Jun. 30, 2010)) It is both fair and appropriate
   to award statutory damages under both the Lanham Act and the Copyright Act. This Court and
   others in this district have entered such a judgment entering an award of statutory damages under
   both the Lanham Act and the Copyright Act. See ABS-CBN Corporation v. Pinoytfc.com, Case
   No. 18-cv-62083-WPD (S.D. Fla. Jan. 14, 2019, entered on docket Jan. 14, 2019); ABS-CBN
   Corporation v. Freepinoychannel.com, Case No. 15-cv-61002-WPD; ABS-CBN Corporation v.
   Aceshowbiz.me, Case No. 18-cv-61553-DPG (S.D. Fla. Oct. 23, 2018, entered on docket October
   24, 2018); ABS-CBN Corporation v. angprobinsyano1.com, Case No. 18-cv-61051-KMM (S.D.
   Fla. Aug. 31, 2018); ABS-CBN Corporation v. pinoytvtfc.com, Case No. 17-cv-61051-CMA (S.D.
   Fla. Dec. 28, 2017, entered on docket Dec. 29, 2017).
   IV.    CONCLUSION
          For the foregoing reasons, Plaintiffs, ABS-CBN Corporation, ABS-CBN Film
   Productions, Inc. d/b/a Star Cinema, and ABS-CBN International, respectfully request the Court
   enter final default judgment and a permanent injunction against Defendants in the form of the
   proposed Final Default Judgment and Permanent Injunction filed herewith.

   Dated: March 12, 2019                       Respectfully submitted,
                                               STEPHEN M. GAFFIGAN, P.A.

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                                SCHEDULE “A”
                DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                         Def. No.            Domain Name
                                1   cinesilip.su
                                1   pariwikitv.su
                                1   pinoyhd.su
                                2   dilsediltakdrama.net
                                3   dramaofw.su
                                3   dramaofw.ch
                                4   filikulamo.tk
                                5   filipinoshows.su
                                5   filipinotvshows.su
                                5   ofwpinoytambayan.su
                                6   fullpinoymovies.net
                                7   lambingansu.net
                                8   pariwiki.su
                                8   vidco.su
                                9   pinoy1tvhd.su
                               10   pinoyako.co
                               11   pinoychannelflix.su
                               12   pinoychannelofw.su
                               13   pinoyflixtv.com
                               14   pinoylambingan.info
                               15   pinoymovies.site
                               16   pinoytambayanchannel.com
                               17   pinoytambayanlambingans.com
                               18   pinoytambayanlive.su
                               18   cinesilipsu.net
                               19   pinoytvb.com
                               20   pinoytvlovershd.com
                               21   pinoytvplus.com
                               22   pinoytvreplay.su
                               23   pinoytvreplays.co
                               24   sunjerhd.com
                               25   tambayand.com
                               25   lqnabc.info
                               25   tambayane.com
                               26   telebesyon.com
                               27   yztv.online
                               27   yztv.pw



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                                 SCHEDULE “B”
        DEFENDANTS BY NUMBER, SUBJECT DOMAIN NAME, ADVERTISING ACCOUNT
                 INFORMATION, AND ASSOCIATED E-MAIL ADDRESSES

                                   Advertising
    Def.         Domain              Service/                 Account              Associated
    No.           Name              Platform                 Identifier            E-mail(s)
                                  Google
                                  Adsense,              ca-pub-              javirock906@gmail.co
    1      cinesilip.su           Google LLC            8198232054412351     m
                                  Google
                                  Adsense,              ca-pub-              javirock906@gmail.co
    1      pariwikitv.su          Google LLC            3665264874099092     m
                                  Google
                                  Adsense,              ca-pub-              javirock906@gmail.co
    1      pinoyhd.su             Google LLC            8198232054412351     m
                                                        div-gpt-ad-
                                                        1541063367318-0
                                                        div-gpt-ad-
           dilsediltakdrama.net   Google                1541063451088-0      98e685e3f9f74bd982a1
           (Framed on             DoubleClick,          div-gpt-ad-          e855a10f60aa.protect@
    2      tfctvshows.ga)         Google LLC            1541063506421-0      whoisguard.com
                                  Google
                                  Adsense,              ca-pub-              vhungcc.kd@gmail.co
    3      dramaofw.su            Google LLC            9226293809914322     m
                                  N/A redirects         N/A redirects
    3      dramaofw.ch            to dramaofw.su        to dramaofw.su       N/A
                                  AdsKeeper,
                                  Hardware
                                  Solution
    4      filikulamo.tk          Limited               filikulamo.tk        N/A
                                  Google
                                  Adsense,              ca-pub-
    5      filipinoshows.su       Google LLC            4114366130058641     tiagotifa@yahoo.com
                                  Google
           ofwpinoytambayan.s     Adsense,              ca-pub-
    5      u                      Google LLC            9431595196029395     tiagotifa@yahoo.com
                                  Revcontent,
                                  Revcontent,
    5      filipinotvshows.su     LLC                   rcjsload_10df2c      tiagotifa@yahoo.com
                                  RevenueHits,                               6437622@whoisprotect
    6      fullpinoymovies.net    Intango Ltd.          tid=92782_468779_1   ion.biz
                                  Taboola                                    contact@privacyprotect
    7      lambingansu.net        Taboola, Inc.         lambingan            .org
                                  Google                ca-pub-              waqarkhanmalghani@g
    8      vidco.su               Adsense,              8827305951524896     mail.com

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                                  Advertising
    Def.         Domain             Service/                   Account             Associated
    No.           Name             Platform                   Identifier           E-mail(s)
                                 Google LLC

                                 mgid.com,
                                 MGID Inc.                                   waqarkhanmalghani@g
    8      pariwiki.su           MGID UA                pariwiki.su          mail.com
                                 Google
                                 Adsense,               ca-pub-
    9      pinoy1tvhd.su         Google LLC             3443367408593548     koreamitti@gmail.com
                                 Google
                                 Adsense,               ca-pub-              pinoyako.co@gmail.co
    10     pinoyako.co           Google LLC             2838404477920338     m
                                 Google
                                 Adsense,               ca-pub-
    11     pinoychannelflix.su   Google LLC             2298926256267506     paktvsite@gmail.com
                                 Google
                                 Adsense,               ca-pub-              kathleengil224@gmail.
    12     pinoychannelofw.su    Google LLC             8008043498317742     com
                                                                             pw-
                                 Google                                      a0c0067303966fa1451e
                                 DoubleClick,           div-gpt-ad-          ff3359aa4eb6@privacy
    13     pinoyflixtv.com       Google LLC             1542804772125-0      guardian.org
                                 Google
                                 Adsense,               ca-pub-              pinoylambingan.info@
    14     pinoylambingan.info   Google LLC             4226698868686867     domainsbyproxy.com
                                 popads.net,
                                 Tomksoft
    15     pinoymovies.site      S.A.                   2901992              N/A
                                                                             https://whoiscontact.sec
                                                                             ure-
                                 Google                                      admin.com/?token=593
           pinoytambayanchan     Adsense,               ca-pub-              A8A20-EB65-4878-
    16     nel.com               Google LLC             2666935058879977     818D-F32917D37DCB
           pinoytambayanlambi
    17     ngans.com          N/A                       N/A                  N/A
                                                                             pw-
                                 Google                                      89b1d4df9d6007385b6f
                                 Adsense,               ca-pub-              a40cf592ab0a@privacy
    18     cinesilipsu.net       Google LLC             4580510514716350     guardian.org
                                 N/A redirects
           pinoytambayanlive.s   to                     N/A redirects        bepanahcolorstv1@gm
    18     u                     cinesilipsu.net        to cinesilipsu.net   ail.com



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                                 Advertising
    Def.         Domain           Service/                   Account              Associated
    No.           Name            Platform                  Identifier            E-mail(s)
                                                                            pw-
                                                                            f58169373123b4021cf6
                                                                            9826bfff2492@privacy
    19     pinoytvb.com         N/A                   N/A                   guardian.org
                                                                            af54ab188fcc4e21b99e
                               Taboola                                      993f725ca0c8.protect@
    20     pinoytvlovershd.com Taboola, Inc.          techrapidly-pinoytv   whoisguard.com
                                                                            95a25126b69547d78cb
                                Taboola               techrapidly-          94d32f2b8beeb.protect
    21     pinoytvplus.com      Taboola, Inc.         pinoytvplus           @whoisguard.com
                                Google
                                Adsense,              ca-pub-
    22     pinoytvreplay.su     Google LLC            1651216597970128      herpalasif@gmail.com
                                Google
                                Adsense,              ca-pub-
    23     pinoytvreplays.co    Google LLC            8051557725411837      N/A
                                AdsKeeper,
                                Hardware
                                Solution                                    sunjerhd.com@domain
    24     sunjerhd.com         Limited               sunjerhd.com          sbyproxy.com
                                Google
                                Adsense,              ca-pub-               sunjerhd.com@domain
    24     sunjerhd.com         Google LLC            4129485395961669      sbyproxy.com
                                                                            2f6e6adb362c4adc8373
                                Google                                      0a2ee8cc9fcb.protect@
                                Adsense,              ca-pub-               whoisguard.com
    25     tambayane.com        Google LLC            2928852312410693      admin@aliwan.info
                                N/A, redirects                              caa3c2f43a7740b7bf8d
                                to                    N/A, redirects        691921d2bc95.protect
    25     tambayand.com        tambayane.com         to tambayane.com      @whoisguard.com
                                N/A, redirects
                                to                    N/A, redirects
    25     lqnabc.info          tambayane.com         to tambayane.com      N/A
                                Google
                                Adsense,              ca-pub-               telebesyon.com@domai
    26     telebesyon.com       Google LLC            7559543077218518      nsbyproxy.com
                                AdsKeeper,
                                Hardware
                                Solution
    27     yztv.pw              Limited               yonipzone.rocks       N/A
                                Google
                                Adsense,              ca-pub-
    27     yztv.pw              Google LLC            4797266658649202      N/A


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                             Advertising
    Def.         Domain        Service/                 Account           Associated
    No.           Name         Platform                Identifier         E-mail(s)
                           N/A, redirects        N/A, redirects
    27     yztv.online     to yztv.pw            to yztv.pw         N/A




                                            22
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 12, 2019, I electronically filed the foregoing
   document with the Clerk of Court using CM/ECF. I also certify that a true copy of the foregoing
   was served this 12th day of March, 2019, upon the Defendants by via electronic mail and via
   publication by publishing a true and accurate copy of the following document(s) on Plaintiffs’
   serving notice website, http://servingnotice.com/BF1SS/index.html.


                                              By: ___ /Christine Ann Daley/_____________
                                                      Christine Ann Daley




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